USCA Case #25-5144         Document #2117911              Filed: 05/28/2025   Page 1 of 6



                 United States Court of Appeals
                             FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                      ____________
No. 25-5144                                                 September Term, 2024
                                                                      1:25-cv-01015-RCL
                                                       Filed On: May 28, 2025
Patsy Widakuswara, et al.,

              Appellees

       v.

Kari Lake, in her official capacity as Senior
Advisor to the Acting CEO of the U.S. Agency
for Global Media, et al.,

              Appellants



No. 25-5145
                                                                      1:25-cv-00887-RCL


Michael Abramowitz, in his official capacity as
Director of Voice of America, et al.,

              Appellees

       v.

Kari Lake, in her official capacity as Senior
Advisor to the Acting CEO of the United
States Agency for Global Media, et al.,

              Appellants
USCA Case #25-5144         Document #2117911             Filed: 05/28/2025    Page 2 of 6

                 United States Court of Appeals
                            FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                     ____________
No. 25-5144                                                September Term, 2024


No. 25-5150
                                                                     1:25-cv-00966-RCL


Middle East Broadcasting Networks, Inc.,

              Appellee

       v.

United States of America, et al.,

              Appellants


No. 25-5151
                                                                     1:25-cv-00907-RCL


Radio Free Asia,

              Appellee

       v.

United States of America, et al.,

              Appellants

       BEFORE:       Srinivasan, Chief Judge, and Henderson*, Millett, Pillard, Wilkins,
                     Katsas*, Rao*, Walker*, Childs, Pan, and Garcia, Circuit Judges

                                        ORDER

        Upon consideration of the petitions for rehearing en banc, which move for en
banc reconsideration and vacatur of the court’s May 3, 2025 order; the responses
thereto; the administrative stay entered by the en banc court on May 7, 2025; and the
letters regarding case status, it is

      ORDERED that the motion for en banc reconsideration and vacatur in No. 25-
5145 be denied. The en banc court’s May 22, 2025 order denied the relief requested
USCA Case #25-5144         Document #2117911              Filed: 05/28/2025     Page 3 of 6

                 United States Court of Appeals
                             FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                      ____________
No. 25-5144                                                 September Term, 2024

by the appellees related to provision (1) of the district court’s preliminary injunction
challenged in No. 25-5144, and the appellees state that this case raises no question
pertaining to provision (2) of that preliminary injunction, see Pet., No. 25-5145, at 4 n.3.
It is

        FURTHER ORDERED that, in Nos. 25-5150 and 25-5151, the motion for en
banc reconsideration and vacatur be granted and the government’s motion for stay
pending appeal be denied. A majority of the judges eligible to participate voted in favor
of the motion for en banc reconsideration and vacatur, and the government has not
satisfied the stringent requirements for a stay pending appeal. See Nken v. Holder, 556
U.S. 418, 434 (2009); D.C. Circuit Handbook of Practice and Internal Procedures 33
(2024).

       The jurisdictional argument advanced by the government in Nos. 25-5150 and
25-5151 raises an important issue, as indicated by its recurrence in a number of recent
cases. See, e.g., Am. Bar Ass’n v. U.S. Dep’t of Just., No. 25-cv-1263 (CRC), 2025 WL
1388891 (D.D.C. May 14, 2025); S. Educ. Found. v. U.S. Dep’t of Educ., No. 25-cv-
1079 (PLF), 2025 WL 1453047 (D.D.C. May 21, 2025). At this initial stage,
substantially for the reasons explained by Judge Pillard, see Pet. Add., Nos. 25-5150 &
25-5151, at 19–42 (Pillard, J., dissenting), the government has not made the requisite
“strong showing” of a likelihood of success on the merits of its appeals in these cases,
Nken, 556 U.S. at 434. This order of course does not constrain the ability of the panel
that hears the government’s appeals to reach any conclusion following full merits
briefing and argument.

        Additionally, apart from whether the government ultimately prevails in these
appeals, the government has not contested the appellee grantee networks’ claims of
irreparable injury if the government’s requested stay were maintained during the
appeals’ pendency—including the grantee networks’ submissions that suspension of
the government’s monthly grant payments to them will promptly and severely threaten
their continued viability, rendering them unable to exist except as a formal matter and
making it unlikely that they could recover even if they ultimately prevail on their claims.
See Pet. Add., Nos. 25-5150 & 25-5151, at 89, 92. For its part, the government
explains that it will be irreparably harmed because, if it prevails in the appeals, it could
not retrieve any monthly payments it makes to the grantee networks in the interim. See
Gov’t En Banc Resp., Nos. 25-5150, 25-5151, & 25-5158, at 13. But in arguing for a
stay, the government has not contended that it will ultimately prevail in establishing an
entitlement to those funds; it instead has argued solely that, as a jurisdictional matter,
the entitlement must be determined in another forum (the U.S. Court of Federal
Claims). See Order Granting Stay Pending Appeal, No. 25-5158 (D.C. Cir. May 7,
2025), Dissent at 3 (Pillard, J.). In these circumstances, the government has not shown


                                           Page 2
USCA Case #25-5144        Document #2117911             Filed: 05/28/2025         Page 4 of 6

                United States Court of Appeals
                           FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                    ____________
No. 25-5144                                               September Term, 2024

that the equities weigh in favor of a stay pending appeal in Nos. 25-5150 and 25-5151.
It is

       FURTHER ORDERED that the motion for en banc reconsideration and vacatur
in No. 25-5144 be denied. In their claims of irreparable injury arising from the court’s
May 3, 2025 order staying provision (2) of the district court’s preliminary injunction,
appellees’ asserted injuries are entirely derivative of the suspension of monthly grant
payments to Radio Free Asia. See Pet., No. 25-5144, at 15–16. This order’s grant of
en banc reconsideration and vacatur in No. 25-5151 addresses those asserted injuries.
It is

      FURTHER ORDERED that the May 7, 2025 administrative stay entered by the
en banc court as to Nos. 25-5144, 25-5150, and 25-5151 be dissolved. It is

     FURTHER ORDERED that the above-captioned cases be scheduled for oral
argument on the same day and before the same panel. It is

        FURTHER ORDERED, on the court’s own motion, that the parties submit within
7 days of the date of this order a proposed schedule and format for the briefing of the
above-captioned cases on an expedited basis. The parties are strongly urged to submit
a joint proposal and are reminded that the court looks with extreme disfavor on
repetitious submissions and will, where appropriate, require a joint brief of aligned
parties with total words not to exceed the standard allotment for a single brief. Whether
the parties are aligned or have disparate interests, they must provide detailed
justifications for any request to file separate briefs or to exceed in the aggregate the
standard word allotment. Requests to exceed the standard word allotment must specify
the word allotment necessary for each issue.

                                          Per Curiam

                                                                  FOR THE COURT:
                                                                  Clifton B. Cislak, Clerk

                                                        BY:       /s/
                                                                  Selena R. Gancasz
                                                                  Deputy Clerk

*Circuit Judges Henderson, Katsas, Rao, and Walker dissent from the grant of en banc
reconsideration and vacatur and the denial of the motion for stay pending appeal in
Nos. 25-5150 and 25-5151. A dissenting statement of Circuit Judge Katsas is attached.
Circuit Judges Henderson, Rao, and Walker join in the statement of Circuit Judge
Katsas.

                                         Page 3
USCA Case #25-5144      Document #2117911                Filed: 05/28/2025      Page 5 of 6




                 KATSAS, Circuit Judge, dissenting in part: These appeals
            arise from the government’s efforts to downsize the United
            States Agency for Global Media (USAGM) pursuant to
            Executive Order 14238. 90 Fed. Reg. 13043 (Mar. 14, 2025).
            In implementing the Executive Order, USAGM sought to
            cancel its grants with affiliated radio networks. Various
            plaintiffs sued, and the district court ordered USAGM to—
            among other things—restore grants with Radio Free Asia and
            Middle East Broadcasting Networks.           The government
            appealed these preliminary injunctions and sought interim
            stays, which a motions panel of this Court granted.
            Widakuswara v. Lake, No. 25-5144, 2025 WL 1288817 (D.C.
            Cir. May 3, 2025) (per curiam). The en banc Court now
            vacates the stays in Nos. 25-5150 and 25-5151. I respectfully
            dissent from that part of the order because, in my view, the
            panel’s stay decisions were correct.
                 The district court lacked jurisdiction to order continued
            funding for the affiliated networks. In substance, those orders
            compel specific performance of the networks’ contracts with
            USAGM. The orders thus resolve contract claims against the
            federal government, which, by operation of the Tucker Act, fall
            within the exclusive jurisdiction of the Court of Federal
            Claims. The panel’s order granting stays pending appeal, and
            my dissent from the en banc Court’s administrative-stay order,
            fully explain my position on this issue. See Widakuswara,
            2025 WL 1288817, at *3–5; Middle E. Broad. Networks, Inc.
            v. United States, No. 25-5150, 2025 WL 1378735, at *1–4
            (D.C. Cir. May 7, 2025) (Katsas, J., dissenting).
                 The majority denies the government’s stay motions based
            on its conclusions that (1) the government is unlikely to prevail
            on its Tucker Act contention and (2) the balance of harms tips
            for the networks because the government has not yet staked out
            a merits defense of its decision to terminate the grants. This
            reasoning seems to me difficult to reconcile with Department
            of Education v. California, 145 S. Ct. 966 (2025) (per curiam).
USCA Case #25-5144      Document #2117911                Filed: 05/28/2025      Page 6 of 6




                                           2
            In that case, a district court ordered the government to continue
            funding certain education grants, despite the government’s
            argument that the Tucker Act gave the Court of Federal Claims
            exclusive jurisdiction over the claims at issue. In granting a
            stay pending appeal, the Supreme Court concluded that the
            government was likely to succeed on its Tucker Act argument
            that the district court lacked jurisdiction. See id. at 968–69.
            Moreover, the Court granted the stay even though the
            government had not further argued that it would likely succeed
            on the merits when defending its grant terminations in the
            Court of Federal Claims. See id. at 974 & n.2 (Jackson, J.,
            dissenting).
                 In this case, the majority considers the government’s lack
            of a merits defense only in assessing the balance of interim
            harms, and only after concluding that the government is
            unlikely to succeed on its jurisdictional objection. As noted
            above, California makes clear that the lack of an asserted
            merits defense is not necessarily fatal in a stay posture. But in
            any event, the majority’s reasoning does not suggest that a stay
            pending appeal would have been inappropriate had it agreed
            that jurisdiction was likely lacking. And in my view, no such
            suggestion would be tenable.
